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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


UNITED STATES OF AMERICA,

                                                  CASE NO.: 6:22-cr-00009-GAP-GJK
v.

JOSEPH ELLICOTT,

________________________/
                   MOTION TO CONTINUE SENTENCING HEARING

       COMES NOW the Defendant, Joseph Ellicott, by and through the undersigned attorney,

pursuant to Rules of the District Court of the United States for the Middle District of Florida

Rule 3.09 and moves this Court to enter its Order granting a continuance of the above-styled

cause. As grounds in support of this motion, the Defendant would show:

       1. The Sentencing Hearing in this case is scheduled to be heard on April 26, 2022.

       2. The Defense just received Discovery in this matter and needs time to go through this

       new discovery.

       3. The U.S. Probation Office of the Middle District has also requested additional time to

       review the discovery which has been received.

       4. Assistant United States Attorney, Roger B. Handberg, has no objection to a

       continuance in this matter.

       WHEREFORE, the Defendant moves this Court to enter its Order granting the

Defendant’s Motion for Continuance in the above-styled cause.




                             CERTIFICATE OF SERVICE
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      On March 17, 2022, using CM/ECF, I electronically filed the foregoing MOTION TO
CONTINUE with the clerk of the court which will send notice to: US Attorney’s Office, 400 W
Washington St. Ste. 300, Orlando, FL 32801, at roger.handberg@usdoj.gov.


                                                 _/s/ Robert I. Mandell__________
                                                 ROBERT I. MANDELL, ESQUIRE
                                                 MANDELL LAW, P.A.
                                                 Florida Bar Number: 15484
                                                 189 S. Orange Avenue. Ste. 810.
                                                 Orlando, FL 32801
                                                 Tel: 407-956-1180
                                                 Fax: 407-386-9550
                                                 Cell: 407-925-4386
                                                 rmandell@fightforyou.org
